                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


 BOYD SMITH, NANCY SMITH,                      )
 JOEY SMITH, JEFFREY SMITH,                    )
 JILL SMITH, BESSIE HACKNEY,                   )
 WILLIAM GRAY, PEGGY GRAY,                     )
 and GREGORY HOUSTON,                          )
                                               )
                Plaintiffs,                    )
                                               )
 v.                                            )       No. 3:04-CV-591
                                               )       (JARVIS/GUYTON)
 FIRST CENTURY BANK,                           )
 CONNIE DYER, SHERI LAWSON,                    )
 and DELORIS GRAVES,                           )
                                               )
                Defendants.                    )       Consolidated


 ERNEST NICELY and                             )
 PATRICIA NICELY,                              )
                                               )
                Plaintiffs,                    )
                                               )
 v.                                            )       No. 3:05-CV-175
                                               )
 FIRST CENTURY BANK,                           )
 CONNIE DYER, SHERI LAWSON,                    )
 and DELORIS GRAVES,                           )
                                               )
                Defendants.                    )


                                MEMORANDUM AND ORDER

                This matter is before the undersigned pursuant to the provisions of 28 U.S.C. §636(b),

 the Rules of this Court, and by Order [Doc. 156, 167] of the Honorable James H. Jarvis, United

 States District Judge, for disposition of several non-dispositive pretrial motions [Docs. 148, 149,

 154, 155, 166]. The Court held a hearing on these motions on August 18, 2006. Participating on




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 behalf of the plaintiffs was attorney Adrienne L. Anderson. Participating on behalf of the defendants

 were attorneys M. Edward Owens, Jr., Christopher W. Conner, and Kevin Fox.

 I.      Defendant First Century Bank’s Motion to Extend Pretrial Deadlines and to Continue

         Trial Date

                 The defendant First Century Bank (“FCB”) filed a motion to extend pretrial deadlines

 and to continue trial date. [Doc. 148]. Defendant Sheri Lawson joined defendant FCB’s motion.

 [Doc. 154]. For good cause shown, the defendants’ Motions to Extend Pretrial Deadlines and to

 Continue Trial Date [Docs. 148 and 154] are GRANTED. The trial of the matter is continued until

 January 17, 2007. The deadlines for motion practice and other pre-trial matters set forth in the

 Scheduling Order [Doc. 23] filed on February 15,2005 shall be applicable to this new trial date.

 II.     Defendant First Century Bank’s Motion to Take More Than Ten Depositions and to

         Take an Additional Deposition of Plaintiff Ernest Nicely

                 The defendant FCB filed a motion to take more than ten depositions and to take an

 additional deposition of plaintiff Ernest Nicely. [Doc. 149]. Defendant Sheri Lawson joined

 defendant FCB’s motion. [Doc. 155]. All parties agreed that each side should be allowed to take

 up to thirty (30) depositions in this case. In addition, all parties agreed that an additional deposition

 of plaintiff Ernest Nicely should be allowed, so long as Mr. Nicely’s medical condition is taken into

 consideration during the scheduling and execution of the deposition. For good cause shown, the

 defendants’ Motions to Take More Than Ten Depositions and to Take an Additional Deposition of

 Plaintiff Ernest Nicely [Docs. 149 and 155] are GRANTED. Each side shall be allowed to take up

 to thirty (30) depositions, and an additional deposition of plaintiff Ernest Nicely shall be allowed.




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 III.   Plaintiffs’ Motion for Extension of Time to Disclose Expert Testimony

                The plaintiffs filed a motion to extend the time allowed for disclosure of expert

 testimony. In light of the continuance of this case, and the subsequent alteration of the deadline for

 disclosure of expert testimony, the plaintiffs’ Motion for Extension of Time to Disclose Expert

 Testimony [Doc.166] is DENIED AS MOOT.

                IT IS SO ORDERED.

                                                ENTER:


                                                      s/ H. Bruce Guyton
                                                United States Magistrate Judge




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